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                                                                         RICARDO SOLANO JR.
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                                                                              January 4, 2021

 BY ECF

 The Honorable Kevin McNulty
 United States District Judge
 District Court of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

               Re: USA v. Coburn et al., No. 19-cr-120-(KM)

 Dear Judge McNulty:

                 This firm represents Cognizant Technology Solutions Corporation
 (“Cognizant”) in connection with Defendants Gordon J. Coburn’s and Steven Schwartz’s
 Subpoenas to Produce Documents, Information, or Objects in a Criminal Case served on
 Cognizant in the above-referenced matter (the “Subpoenas”). We write in connection with
 the Government’s letter to the Court, dated December 23, 2020, commenting on the proposed
 schedule for responding to the Subpoenas and for the parties to present to the Court any
 issues that they cannot resolve, and defense counsel’s letter, dated December 31, 2020, that,
 among other things, responds to same. We understand that there is a status conference in this
 matter scheduled for Wednesday, January 6, 2021. If Your Honor wishes, we will make
 ourselves available to participate in that status conference, or at any other time that is
 convenient for the Court, to address any questions regarding the proposed schedule.

               Thank you for your attention to this matter.



                                             Respectfully submitted,

                                             s/ Ricardo Solano Jr.
                                             Ricardo Solano Jr.


 cc:   All Counsel via ECF




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